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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                     )
                                                         )
                                                         )
                  Plaintiff,                             )
                                                         )
 v.                                                      )   Case No. 4:17-cv-00454-GKF-JFJ
                                                         )
 1) CASTLE HILL STUDIOS LLC                              )   REDACTED
    (d/b/a CASTLE HILL GAMING);                          )
 2) CASTLE HILL HOLDING LLC                              )
    (d/b/a CASTLE HILL GAMING); and                      )
 3) IRONWORKS DEVELOPMENT, LLC                           )
    (d/b/a CASTLE HILL GAMING)                           )
                                                         )
                  Defendants.                            )

                      PLAINTIFF VIDEO GAMING TECHNOLOGIES, INC.’S
                      OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
                       TO EXCLUDE EVIDENCE OF ACTUAL CONFUSION

              Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks

      Development LLC’s (collectively, “CHG”) Motion in Limine to exclude the fourteen instances of

      actual confusion identified by Plaintiff Video Gaming Technologies, Inc. (“VGT”) (Dkt. 147,

      “Motion”) ignores that courts routinely accept such evidence as the “best evidence of likelihood

      of confusion.” See Universal Money Ctrs., Inc. v. Am. Tel. & Tel. Co., 22 F.3d 1527, 1534 (10th

      Cir. 1994) (“Actual confusion in the marketplace is often considered the best evidence of

      likelihood of confusion.”); First Fid. Bank, N.A. v. Fid. Bank, No. CIV-05-887-R, 2006 WL

      6884605, at *6 (W.D. Okla. Apr. 18, 2006) (citing Sally Beauty Co., Inc. v. Beautyco, Inc., 304

      F.3d 964, 974 (10th Cir. 2002) (“[E]vidence of actual confusion may be the best evidence of

      likelihood of confusion.”); Sara Lee Corp. v. Sycamore Family Bakery Inc., No. 2:09CV523DAK,

      2009 WL 3617564, at *4 (D. Utah Oct. 27, 2009) (citing Standard Oil Co. v. Standard Oil Co.,



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   252 F.2d 65, 74 (10th Cir. 1958)) (“Although the Lanham Act only requires likelihood of

   confusion, actual confusion is recognized as the best evidence of likelihood of confusion.”). After

   all, it is difficult to contend that confusion is unlikely when it has already occurred many times

   over.

           Although CHG’s desire to keep out such evidence is understandable, none of the bases it

   asserts warrants exclusion. As discussed below, the evidence is admissible, relevant, and robust.

   I.      ARGUMENT

           A.     VGT Can and Will Authenticate All Evidence of Actual Confusion.

           Tacitly acknowledging the admissibility of the other twelve instances of actual confusion,

   CHG seeks to exclude evidence regarding two instances of confusion on the specious ground that

   they originate from the Internet. Specifically, CHG challenges postings on the Jokers Wild

   Forum website, Ex. A, VGT0001673–87, 1 and the Naskila Gaming Facebook page, Ex. B,

   VGT0001661–72, showing confusion among casino players as to which games are made by

   VGT and which games are made by CHG.

           CHG’s position is contrary to prevailing case law: Social media posts and other evidence

   taken from webpages can be authenticated by “(1) testimony from a witness who states that the

   evidence is what it is claimed to be, (2) distinctive characteristics of the evidence itself, such as

   appearance, contents, substance, internal patterns or other distinctive characteristics, taken in

   conjunction with circumstances, that can authenticate the documentary evidence, or (3) evidence

   that shows that the documentary evidence is accurately produced through a process or system.”

   Parker v. State, 85 A.3d 682, 685 (Del. 2014) (applying Rule 901 of the Delaware Uniform



   1
    The exhibits for this motion are attached to the Declaration of Rebecca Dalton in Support of
   Plaintiff’s Opposition to Defendants’ Motion in Limine to Exclude Evidence of Actual
   Confusion.

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   Rules of Evidence, which is substantially identical to Rule 901 of the Federal Rules of Evidence)

   (internal punctuation omitted); see also 29 Am. Jur. 2d Evidence § 96 (2014) (“A court may take

   judicial notice of internet material.”). Nor are these the only ways to authenticate such evidence.

   See, e.g., Parker, 85 A.3d at 685 (“[t]hese are not the exclusive ways to authenticate social media

   posts”); see also O’Toole v. Northrop Grumman Corp., 499 F.3d 1218, 1225 (10th Cir. 2007)

   (“It is not uncommon for courts to take judicial notice of factual information found on the world

   wide web.”); United States v. Vayner, 769 F.3d 125, 133 (2d Cir. 2014) (“the ‘type and quantum’

   of evidence necessary to authenticate a web page will always depend on context”).

          Specifically in the context of user comments or reviews showing consumer confusion,

   courts have held evidence such as a “website printout of the Yelp webpage and user reviews [to

   be] admissible.” Rib City Franchising, LLC v. Bowen, No. 2:15-CV-00636, 2015 WL 6695723,

   at *5 & n. 6 (D. Utah Nov. 3, 2015). Courts have found such evidence of actual confusion to be

   admissible even when the online posts are anonymous. See You Fit, Inc. v. Pleasanton Fitness,

   LLC, No. 8:12-CV-1917-T-27EAJ, 2013 WL 521784, at *5 (M.D. Fla. Feb. 11, 2013) (“While

   these anonymous posts are not conclusive evidence of actual confusion, they are indicative of

   potential consumer confusion.”). And they have overruled hearsay objections to such evidence

   of actual confusion on the ground that it “demonstrate[s] the declarant’s then existing state of

   mind.” See Univ. of Kansas v. Sinks, 565 F. Supp. 2d 1216, 1231 (D. Kan. 2008) (online post

   admissible “to show that the declarant was confused”).

          CHG’s reliance on Clark v. Time Inc., 242 F. Supp. 3d 1194 (D. Kan. 2017), appeal

   dismissed, 727 F. App’x 975 (10th Cir. 2018), is misplaced. That case stands only for the

   unremarkable proposition that comments from a webpage require authentication just like any

   other form of documentary evidence—not that online postings cannot be authenticated. Id. at



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   1205 (“A proponent may establish authenticity by the evidence’s ‘appearance, contents,

   substance, internal patterns, or other distinctive characteristics of the item, taken together with all

   the circumstances.’”). In that case, unlike here, “plaintiff ha[d] no response to defendants’

   challenge to the document’s authenticity.” Id.

          Here, by contrast, VGT intends to present testimony from a VGT employee

   authenticating the Internet postings. See Foreword Magazine, Inc. v. OverDrive, Inc., No. 1:10-

   CV-1144, 2011 WL 5169384, at *3 (W.D. Mich. Oct. 31, 2011) (“The lower courts generally

   hold that an affidavit of a witness, when viewed in combination with circumstantial indicia of

   authenticity (such as the existence of the URL, date of printing, or other identifying information)

   would support a reasonable juror in the belief that the documents are what the proponent says

   they are.”) (citing, inter alia, United States v. Meienberg, 263 F.3d 1177, 1181 (10th Cir. 2001));

   Toytrackerz LLC v. Koehler, No. Civ. A. 08-2297-GLR, 2009 WL 2591329, at *6 (D. Kan. Aug.

   21, 2009) (“To authenticate printouts from a website, the proponent must present evidence from

   a witness with personal knowledge of the website at issue stating that the printout accurately

   reflects the content of the website and the image of the page on the computer at which the

   printout was made.”); United States v. Needham, 852 F.3d 830, 836 (8th Cir. 2017) (“Exhibits

   depicting online content may be authenticated by a person’s testimony that he is familiar with the

   online content and that the exhibits are in the same format as the online content.”).

          Moreover, CHG’s misleading argument that VGT has not produced “evidence

   demonstrating that the Jokers Wild Forum and Facebook postings are what they purport to be,”

   Mot. at 5, disregards evidence from CHG’s own officials and employees supporting the

   authentication testimony VGT intends to offer.




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   discern differences between them. Indeed, it seems unlikely that there could be more powerful

   evidence of actual confusion.

          Contrary to CHG’s suggestion, see Mot. at 6, there is no rule or presumption that such

   confusion is irrelevant. See Sara Lee Corp. v. Sycamore Family Bakery Inc., No.

   2:09CV523DAK, 2009 WL 3617564, at *4 (D. Utah Oct. 27, 2009) (“These incidents include

   both confusion by those involved regularly in the sale and distribution of food products like

   bread, as well as confusion among ordinary consumers.”); Arrowpoint Capital Corp. v.

   Arrowpoint Asset Mgmt., LLC, 793 F.3d 313, 321 (3d Cir. 2015) (“The likelihood of confusion

   with which the Lanham Act is concerned is not limited to confusion of products among

   purchasers.”); 4 J. Thomas McCarthy on Trademarks and Unfair Competition, § 23:5 (5th ed.)

   (“Relevant confusion among non-purchasers may well extend beyond the confusion of those

   persons positioned to influence directly the decisions of purchasers.”). 2

          To the contrary, courts have recognized the relevance of such confusion in the precise

   circumstance here. Specifically, they have held that “non-consumer confusion may . . . be

   relevant to the ‘likelihood of confusion’ inquiry in three specific and overlapping

   circumstances—namely where there is confusion on the part of: (1) potential consumers; (2)

   non-consumers whose confusion could create an inference that consumers are likely to be

   confused; and (3) non-consumers whose confusion could influence consumers. In all three




   2
     CHG’s citations to Heartsprings, Inc. v. Heartspring, Inc., 143 F.3d 550, 557 (10th Cir. 1998),
   and Klein-Becker USA, LLC v. Prod. Quest Mfg., Inc., 429 F. Supp. 2d 1248, 1253-54 (D. Utah
   2005), are inapposite. The court in Heartsprings considered relevance of confusion from
   plaintiff’s “random acquaintances” with no connection to either party’s industry. See
   Heartsprings, 143 F.3d at 557. The court in Klein-Becker cited Heartsprings without analysis
   and then cursorily addressed the status of those confused in assessing likelihood of success on
   the merits of trademark and trade dress claims, which goes to weight accorded evidence, not
   admissibility.

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   instances, the non-consumer confusion bears a relationship to the existence of confusion on the

   part of consumers themselves.” Rearden LLC v. Rearden Commerce, Inc., 683 F.3d 1190, 1214–

   17 (9th Cir. 2012) (emphasis added) (“such an approach appears to be consistent with rulings

   from other courts”).

          As noted, confusion on the part of those particularly knowledgeable about the products at

   issue can be even stronger evidence than confusion on the part of unsophisticated customers.

   See Imagineering, Inc. v. Van Klassens, Inc., 53 F.3d 1260, 1265 (Fed. Cir. 1995) (“Because

   dealers and experts are more sophisticated about the origins and sources of products lines than

   average consumers, their confusion is highly probative on the question of whether a likelihood of

   confusion exists.”) (internal punctuation omitted); GTFM, Inc. v. Solid Clothing, Inc., 215 F.

   Supp. 2d 273, 297 (S.D.N.Y. 2002) (confusion of “quintessential sophisticated buyer . . . speaks

   volumes about the likely confusion of less informed customers”); CSC Brands LP v. Herdez

   Corp., 191 F. Supp. 2d 1145, 1152 (E.D. Cal. 2001) (finding confusion of member of trade to be

   “particularly significant” because entity “would likely be less at risk to be confused”).

          Accordingly, here, confusion of VGT, CHG, and casino employees, all of whom work

   with these games on a daily basis, is, if anything, stronger evidence of likelihood of confusion

   than confusion on the part of casual casino visitors, who spend less time in casinos and therefore

   are at greater risk of being confused. In short, far from being irrelevant, confusion of VGT,

   CHG, and casino employees “speaks volumes about the likely confusion of less informed

   consumers.” GTFM, Inc., 215 F. Supp. 2d at 297. 3


   3
     It also bears mention that in other contexts CHG takes the inconsistent position that casinos are
   the only relevant customers because they lease EGMs directly from manufacturers like VGT and
   CHG and that CHG does so precisely because CHG wishes to emphasize the casinos’
   sophistication, see CHG’s Motion for Summary Judgment (Dkt. 184), ¶ 57 (“The relevant
   customers for the games at issue are tribal casinos. . . . The tribal casino customers in the current

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          C.      VGT’s Evidence of Actual Confusion Is Not De Minimis.

          CHG’s last attempt to keep from the factfinder this probative evidence—its argument that

   VGT’s evidence of actual confusion is de minimis and unfairly prejudicial, see Mot. at 8—is

   unavailing, and not just because CHG incorrectly assumes that it will succeed in excluding

   evidence of confusion among VGT, CHG, and casino employees, as discussed above.

          Most fundamentally, neither of the two circumstances warranting application of any de

   minimis rule is present here. The Tenth Circuit has explained that “a plaintiff must demonstrate

   more than isolated instances of actual confusion when (1) the trademarked product and the

   defendant’s product are not physically similar or are not used for similar purposes, or (2) the

   defendant has put on its own substantial evidence demonstrating no significant actual

   confusion—for example, testimony from consumers stating that they were not confused.”

   Beltronics USA, Inc. v. Midwest Inventory Distribution, LLC, 562 F.3d 1067, 1076 (10th Cir.

   2009). Here, however, the products are physically similar;




                       . 4 And CHG has introduced no evidence—in the form of a consumer survey

   or otherwise—of an absence of actual confusion. Therefore, even accepting CHG’s

   characterization of the instances of confusion as isolated, they are still admissible.




   market are knowledgeable and sophisticated about gaming machines. These customers are
   familiar with VGT products and the manufacturers of other games in other casinos.”).
   4
    Tellingly, in CHG’s Motion for Summary Judgment, CHG does not include images of the VGT
   and CHG machines, but rather conclusorily asserts that they are dissimilar and therefore are
   unlikely to be confused. VGT’s opposition includes such images.

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          The cases cited by CHG are distinguishable for these and other reasons, including that

   none arose in the context of a motion in limine. In King of the Mountain Sports, Inc. v. Chrysler

   Corp., 185 F.3d 1084, 1091-92 (10th Cir. 1999), the court reasoned that the trademarked product

   and the defendant’s product were not similar (“[t]his disconnection greatly reduces the relevance

   of the similarity of products factor”) and that “the visual impact of the plaintiff’s mark and the

   defendants’ logo differ[ed] dramatically.” Similarly, the court in Universal Money Centers, Inc.

   v. Am. Tel. & Tel. Co., 22 F.3d 1527, 1535-36 (10th Cir. 1994), found that the proffered

   “evidence of actual confusion is especially undermined in this case by the sheer lack of similarity

   between the marks” and that the defendant had “introduced substantial, reliable evidence in

   support of its motion for summary judgment demonstrating no significant actual confusion in the

   marketplace.” Finally, in Water Pik, Inc. v. Med-Sys., Inc., the court considered only three

   confirmed incidents of alleged confusion 5 and noted the defendant’s affirmative evidence of lack

   of confusion in the form of reliable survey results. See 848 F. Supp. 2d 1262, 1274-75 (D. Colo.

   2012), aff’d, 726 F.3d 1136 (10th Cir. 2013).

          In addition, each of the cases cited by CHG involved seven or fewer instances of

   confusion, half or less than the fourteen instances that CHG seeks to exclude. Indeed, we are

   aware of no case in the Tenth Circuit finding evidence of actual confusion to be de minimis

   evidence where, as here, there have been more than seven instances of actual confusion. See

   Hornady Mfg. Co. v. Doubletap, Inc., 746 F.3d 995, 1005 (10th Cir. 2014) (citing Water Pik,

   Universal Money Centers, and King of the Mountain in finding three instances to be de minimis).




   5
    The court excluded one of the four original instances as irrelevant because the allegedly
   confused witness “stated that her mistake was a typographical error.” Water Pik, 848 F. Supp.
   2d at 1274 & n.7.

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         On the other hand, even a single instance of actual confusion may be “worthy of

  consideration.” See Brunswick Corp. v. Spinit Reel Co., 832 F.2d 513, 522 (10th Cir. 1987)

  (“Although this is evidence of a single instance, the confused owner is precisely the one whose

  confusion is most significant.”) (internal quotation omitted). Other courts have found that even

  “six incidents over six to ten years” exceed the de minimis threshold. Am. Century Proprietary

  Holdings, Inc. v. Am. Century Cas. Co., 295 F. App’x 630, 638 (5th Cir. 2008) (“Given the

  parties and their respective lines of business, we would not necessarily expect more instances of

  ‘actual confusion’ to have come to light.”); 4 McCarthy on Trademarks, § 23:14 (“[G]iven the

  proper factual setting, even just a few instances of actual confusion can provide very persuasive

  evidence of how and why confusion can occur.”).

         That VGT has identified 14 instances of actual confusion is all the more impressive given

  CHG’s recent entry into the market and limited presence in casinos, as well as the barriers to

  obtaining information about consumer confusion. Indeed, as of July 2018, CHG leased only

  approximately                                                                  , whereas VGT leases

  approximately                                                                                        ,

  Dkt. 184, ¶ 2. Moreover, most instances of consumer confusion may never come to the attention

  of VGT (or CHG) because, among other reasons, customer complaints demonstrating confusion

  are more likely to be directed to casino operators at whose establishments players interact with

  the product. More broadly, it is hardly surprising that there have not been even more reports of

  actual confusion here. The Tenth Circuit recognizes that evidence of actual confusion is

  particularly difficult to find for low-priced products such as the games at issue in this case (in

  terms of cost to casino patrons). See Brunswick Corp., 832 F.2d at 522 (“[S]uch evidence of




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  actual confusion when the product is low priced is more valuable because purchasers are more

  likely to avoid the brand in the future than complain.”).

         Finally, it is difficult to take seriously CHG’s claim that it would be unfairly prejudiced

  by introduction of VGT’s evidence of actual confusion because it had “no opportunity to cross-

  examine the individuals who purportedly made those online comments.” Mot. at 8-9. CHG

  neglects to mention that it made no effort to depose witnesses disclosed by VGT as having been

  confused or otherwise having knowledge about instances of actual confusion, including Jim

  Marcum, Constance Hollingsworth, Josh Akins, Sheldon Watkins, Rich Schneider, William

  Harvey, Candace Williams, Daniel Wenzell, Tracer Hamilton, and Mickey Ward (several of

  whom submitted declarations describing the confusion, see, e.g., Ex. I, VGT0006765–66

  (Marcum), Ex. J, VGT0006767–69 (Akins), Ex. K, VGT0053034–35 (Watkins), Ex. L,

  VGT0056086–87 (Hollingsworth)). 6 There is no reason to believe that CHG would have noticed

  depositions of the makers of the online statements when it took no action to depose witnesses

  identified by VGT who had submitted declarations telling their stories of confusion.

  II.    CONCLUSION

         For the foregoing reasons, CHG’s Motion in Limine to Exclude Evidence of Actual

  Confusion should be denied.




  6
    Each of the witnesses who submitted declarations resides or works near Tulsa, where CHG
  took depositions of other VGT witnesses.

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on November 16, 2018, I filed a redacted version of the foregoing

  Opposition to Defendants’ Motion In Limine to Exclude Evidence of Actual Confusion via ECF,

  which caused service to be effected on the following counsel for Defendants:

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